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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION


ISIAH KELLUP,                       §
                                    §
v.                                  §     CIVIL ACTION NO. 4:22-CV-1652
                                    §
BANK OF AMERICA, N.A.,              §
______________________________________________________________________________

          UNOPPOSED STIPULATION OF DISMISSAL WITH PREJUDICE
______________________________________________________________________________

TO THE HONORABLE DISTRICT COURT JUDGE:

        Pursuant to the Federal Rule of Civil Procedure, Plaintiff Isiah Kellup hereby stipulates

and agrees to the following:

        1.     Plaintiff filed his Original Petition, Application for Injunctive Relief,

and Request for Disclosures in the 457th Judicial Court of Montgomery County, Texas on May 2,

2022.

        2.     Defendant filed its Notice of Removal on May 23, 2022.

        3.     The parties have resolved the matter amongst themselves.

        4.     Plaintiff as well as Defendant shall bear their own attorney’s fees, expert fees,

and litigation expenses incurred in litigating these claims.

        5.     Accordingly, Plaintiff requests that the Court dismiss this lawsuit with prejudice

against filing same in the future.

        WHEREFORE, PREMISES CONSIDERED, the Plaintiff hereto requests that the Court

enter the attached Order dismissing the above-entitled and numbered cause with prejudice with

costs of court being assessed against the party incurring same.
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                                            Respectfully submitted,
                                                    VILT LAW, P.C.

                                            By:    /s/ Robert C. Vilt
                                                   ROBERT C. VILT
                                                   Texas Bar Number 00788586
                                                   Federal Bar Number 20296
                                                   Email: clay@viltlaw.com
                                            5177 Richmond Avenue, Suite 1142
                                            Houston, Texas 77056
                                            Telephone:    713.840.7570
                                            Facsimile:    713.877.1827
                                            ATTORNEYS FOR PLAINTIFF



                             CERTIFICATE OF CONFERENCE

       I hereby certify that a conference was held on the merits of this motion on August 2, 2022
with Carter Burgess and he is not opposed to the relief sought herein.

                                                    /s/ Robert C. Vilt
                                                    ROBERT C. VILT

                                 CERTIFICATE OF SERVICE

     I hereby certify that on August 6, 2022 the foregoing was filed with the Court via the
CM/ECF system and that the Clerk of the Court will forward a copy of same to the following
CM/ECF users:

       George G. Robertson
       David D. Hornbeak
       Carter Burgess
       Holland & Knight, LLP
       811 Main St., Ste. 2500
       Houston, TX 77002

                                            /s/ Robert C. Vilt
                                            ROBERT C. VILT
